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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                                             10/16/2020
GERALDINE MAHOOD et al,

                                                Plaintiffs,                       20-CV-3677 (LGS) (KHP)

                             -against-                                           ORDER SCHEDULING CASE
                                                                                MANAGEMENT CONFERENCE
NOOM INC.

                                                Defendant.

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KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         A telephonic Case Management conference in this matter is hereby scheduled for

Monday, October 26, 2020 at 4:15 p.m. Counsel is directed to call into the court conference

line at the scheduled time. Please dial (866) 434-5269 Code: 4858267.

         SO ORDERED.

Dated: New York, New York
       October 16, 2020


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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
